                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN
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UNITED STATES OF AMERICA,

                      Plaintiff,                    Case No. 04-CR-196

               vs.

LUIS ASCENCIO,
ESTEBAN RIVERA,
LESMES RIVERA,
RAFAEL RIVERA,
HECTOR RODRIGUEZ, and
JUAN CARLOS SERRANO-LOPEZ,

                  Defendant.
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                     PRELIMINARY ORDER OF FORFEITURE
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       Upon the motion of the United States of America pursuant to Rule 32.2 of the Federal Rules

of Criminal Procedure, and upon the entry of the plea agreements, and in consideration of the guilty

pleas of defendant, Luis Ascencio to Count 2 of the Superseding Indictment, defendant, Esteban

Rivera to Count 1 of the Superseding Indictment, defendant, Lesmes Rivera to Count 1 of the Second

Superseding Indictment, defendant, Rafael Rivera to Count 1 of the Second Superseding Indictment,

defendant, Hector Rodriguez to Count 3 of the Second Superseding Indictment, and defendant, Juan

Carlos Serrano-Lopez to Count 1 of the Second Superseding Indictment, the defendants Luis

Ascencio, Esteban Rivera, Lesmes Rivera, Rafael Rivera, Hector Rodriguez, and Juan Carlos

Serrano-Lopez agree to the forfeiture of their interest in properties named in the forfeiture provision

of the Superseding Indictment filed September 28, 2004;




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       IT IS HEREBY ORDERED that any right, title and interest of the defendants in the properties

described below is hereby forfeited to the United States pursuant to Title 21, United States Code,

Section 853:

       1.      1996 Cadillac Deville, Maroon, no registration plate, VIN # 1G6KD52Y3TU303660,
               seized from Juan Carlos Serrano at 5030 W. Cleveland Ave.

       2.      1995 Lexus GS300, White, Wisconsin Registration 896GJP, VIN #
               JT8JS47E8S0109508.

       3.      2000 Nissan Maxima, Gold, Wisconsin Registration 920GUL, VIN #
               JN1CA31DXYT555029.

       4.      $1,400.00 US Currency seized from Luis Ascencio on September 1, 2004, 3447 N.
               48th Street.

       5.      $1,257.00 US Currency seized from Juan Carlos Serrano-Lopez on August 30, 2004.


       IT IS FURTHER ORDERED that the United States’ forfeiture claim against the $2,251.00

US Currency seized from Lesmes Rivera on September 1, 2004, at 3453 North 48th Street;

$15,961.00 US Currency seized from 4618 South 20th Street, Apartment #5, on September 1, 2004;

and the residence located at 5030 West Cleveland Avenue, Lot 12, Block 6 in Mitchell Forrest

Addition no. 1, being a subdivision of a part of the northeast 1/4 of section 11, in Township 6 North,

Range 21 East. Said real property being in the City of Milwaukee, County of Milwaukee, State of

Wisconsin, be dismissed.

       IT IS FURTHER ORDERED that the above items shall be seized forthwith by the United

States Marshal for the Eastern District of Wisconsin, or its duly authorized representative.

       IT IS FURTHER ORDERED that pursuant to Title 21, United States Code, Section 853(n)(1)

the United States shall publish notice of this order and of its intent to dispose of the properties

according to law.




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      IT IS FURTHER ORDERED that this Order be incorporated by reference in their respective

Judgment and Commitment Order.

      Dated at Milwaukee, Wisconsin, this 13th day of May, 2005.




                                         s/ Rudolph T. Randa
                                         HONORABLE RUDOLPH T. RANDA
                                         Chief Judge




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